Case 3:23-cv-01710-AMO Document 279-1 Filed 07/24/23 Page 1 of 4




                  EXHIBIT 1
                 Case 3:23-cv-01710-AMO Document 279-1 Filed 07/24/23 Page 2 of 4




From:                  Rachel Warren <Rachel.Warren@kobrekim.com>
Sent:                  Monday, June 26, 2023 11:10 AM
To:                    Summers, Matthew; Tsoumas, Tammy A.
Cc:                    Benjamin Sirota; Danielle Rose
Subject:               RE: [EXTERNAL] RE: D09413 Respondent Intercontinental Exchange's Opposition to Non-Party Daniel
                       Sogorka's Motion for Leave to File Proposed Reply
Attachments:           KE Highlights -- FTC Docket No. 9413_ICE Notice to Sagent M&C, LLC and Warburg Pincus LLC.pdf




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  Be cautious, particularly with links and attachments.


Ma ,

ICE does not intend to oppose Sagent/Warburg’s an cipated mo on seeking in camera treatment of the documents
highlighted in the a ached.

Best,
Rachel



Rachel Warren
+1 646 876 9867




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APAC (Hong Kong, Seoul, Shanghai), Caribbean (BVI, Cayman Islands), EMEA (Cyprus, Dubai, London, Tel Aviv)


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From: Summers, Matthew <matthew.summers@kirkland.com>
Sent: Friday, June 23, 2023 2:53 PM
To: Rachel Warren <Rachel.Warren@kobrekim.com>; Tsoumas, Tammy A. <ttsoumas@kirkland.com>
Cc: Benjamin Sirota <Benjamin.Sirota@kobrekim.com>; Danielle Rose <Danielle.Rose@kobrekim.com>
Subject: RE: [EXTERNAL] RE: D09413 Respondent Intercontinental Exchange's Opposition to Non-Party Daniel Sogorka's
Motion for Leave to File Proposed Reply

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                                                                                                                                                                        Case 3:23-cv-01710-AMO Document 279-1 Filed 07/24/23 Page 3 of 4

Rachel,

Highlighted in the a ached are those documents that we intend to move for in camera treatment in whole or in part.
We reserve the right to amend this list based on further review and considera on.

We look forward to hearing your posi on.

Best regards,
Ma


Matthew Summers
------------------------------------------------------------
KIRKLAND & ELLIS LLP
555 South Flower Street, Los Angeles, CA 90071
T +1 213 680 8215 M +1 213 798 2030
F +1 213 680 8500
------------------------------------------------------------
matthew.summers@kirkland.com




From: Rachel Warren <Rachel.Warren@kobrekim.com>
Sent: Friday, June 23, 2023 8:52 AM
To: Summers, Matthew <matthew.summers@kirkland.com>; Tsoumas, Tammy A. <ttsoumas@kirkland.com>
Cc: Benjamin Sirota <Benjamin.Sirota@kobrekim.com>; Danielle Rose <Danielle.Rose@kobrekim.com>
Subject: RE: [EXTERNAL] RE: D09413 Respondent Intercontinental Exchange's Opposition to Non-Party Daniel Sogorka's
Motion for Leave to File Proposed Reply
Thanks, Ma . Can you please provide us with a list of the documents you intend to seek in camera treatment over? We can then let you know ICE’s posi on on Sagent/Warburg’s an cipated mo on. Best, Rachel Rachel Warren+1 646 876 9867www. kobrekim. com




Thanks, Ma . Can you please provide us with a list of the documents you intend to seek in camera treatment over? We
can then let you know ICE’s posi on on Sagent/Warburg’s an cipated mo on.

Best,
Rachel


Rachel Warren
+1 646 876 9867




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                                                                                                                                                                           Case 3:23-cv-01710-AMO Document 279-1 Filed 07/24/23 Page 4 of 4

From: Summers, Matthew <matthew.summers@kirkland.com>
Sent: Thursday, June 22, 2023 9:07 PM
To: Rachel Warren <Rachel.Warren@kobrekim.com>; Tsoumas, Tammy A. <ttsoumas@kirkland.com>
Cc: Benjamin Sirota <Benjamin.Sirota@kobrekim.com>; Danielle Rose <Danielle.Rose@kobrekim.com>
Subject: RE: [EXTERNAL] RE: D09413 Respondent Intercontinental Exchange's Opposition to Non-Party Daniel Sogorka's
Motion for Leave to File Proposed Reply

Thanks very much, Rachel. Are you available tomorrow to meet and confer on Sagent’s and Warburg’s an cipated
mo on to keep in camera certain of ICE’s proposed trial exhibits in the a ached no ce? We are available from 11:30am
to noon, or any me a er 2:30pm PST.

Please let us know.

Many thanks,
Ma


Matthew Summers
------------------------------------------------------------
KIRKLAND & ELLIS LLP
555 South Flower Street, Los Angeles, CA 90071
T +1 213 680 8215 M +1 213 798 2030
F +1 213 680 8500
------------------------------------------------------------
matthew.summers@kirkland.com




From: Rachel Warren <Rachel.Warren@kobrekim.com>
Sent: Thursday, June 22, 2023 1:57 PM
To: Summers, Matthew <matthew.summers@kirkland.com>; Tsoumas, Tammy A. <ttsoumas@kirkland.com>
Cc: Benjamin Sirota <Benjamin.Sirota@kobrekim.com>; Danielle Rose <Danielle.Rose@kobrekim.com>
Subject: RE: [EXTERNAL] RE: D09413 Respondent Intercontinental Exchange's Opposition to Non-Party Daniel Sogorka's
Motion for Leave to File Proposed Reply
Ma , Please see a ached for the redacted, public version of Respondent Intercon nental Exchange’s Opposi on to Non-Party Daniel Sogorka’s Mo on for Leave to File Proposed Reply in Support of his Mo on to Quash or Limit Intercon nental




Ma ,

Please see a ached for the redacted, public version of Respondent Intercon nental Exchange’s Opposi on to Non-Party
Daniel Sogorka’s Mo on for Leave to File Proposed Reply in Support of his Mo on to Quash or Limit Intercon nental
Exchange’s Deposi on Subpoena filed today.

Best,
Rachel



Rachel Warren
+1 646 876 9867




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